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                                                             November 14,2023
U.S. Magistrate Judge James M. Wicks
U.S. Oistrict Court, Eastern District of New York
100 Federal Plaza, Courtroom 1020
Central Islip, New York 11722

                 Re: Superb Motors Inc', et al' v' Anthony Deo' et al'
                         DocketNo.: 2:23-cv-6188
                         Our File No.: 446-25080

Dear Judge Wicks:

        we represent defendants Thomas Jones, cPA and Jones, Little
                                                                                     & co., cPAs LLP (together,
,.JLC,,). Please accept this letter pursuant to Rule 3(D) of Your Honor's Individual Practice Rules to
request a pre-motion                 regardin! a motion'by JLC to dismiss the Amended Complaint
                       "onf"renc..               ptaintiffs' Amended complaint contains 52 causes of
pursuant to F.R.C.P. Rules 12(bXl)-ana (b.
                                                             6, only 2 causes provide the alleged basis for
action, only 6 of which ur" ull"g"d against JiC. Of those
                                                                   ihe First cause of Action' sounding in
the court,s jurisdiction over plaintiffs' claims against JLC -
                                                                 of Action, sounding in conspiracy under
Vioration of RICo, 1g u.s.c. $r962, and the Second cause
 l g u.s.c. $1g62(d). The 4 rernaining causes of action
                                                          constitute state law claims brought pursuant to
                                                                  The Amended complaint fails to state a
the court,s supplemental jurisdiction under 2g u.s.c. $r367.
                                                      of Action. Accordingly, there is no basis for federal
 claim against JLC under the First or Second Causes
                                                                               against JLC with prejudice'
jurisdiction over I-c, and the Amended corpruin, should be dismissed as
                                                                         separately mentions JLC only 4
         The Amended Complaint's "Facts" section, at flfl 48-280,
                                                               allege, in purely general termso that JLC
 times:r in fl,lf 134, ilO, Zqi and 255 in which plaintiffs
 somehow falsified financial statements, altered financial
                                                             .."orir, altered journal entries, and created
                                                               one paragraph !n tl19 First cause of Action
 or submitted forged instruments. JLC is mentioned in only                                             was
                                         submitted false financials to create the illusion that Superb
 - in fl 322, plaintiffs assert that JLC
 profiiable.-JlC is not mentioned in the Second Cause of Action.
                                                             State a Claim Upon Which Relief
 A.      As the RICO and Conspiracy Causes of Action Fail to
         Can Be Granted Against Jl,i, the Court Lacks Original
                                                               Jurisdiction over JLC

          Plaintiffs allege that this court has jurisdiction over JL&C
                                                                            purlyllt to 28 U'S'C' $1331
 predicated upon cla-im"s sounding in violations of
                                                     p1Co    under 18 U.S'C'  $1962 and Conspiracy under
                                                                                      statute' As such' the
 lg U.S.C. $1962(dt. in ru-, pliintiffs fail to state a claim under either federal                      well
 Amended complaint should bi dismissed as .,a   against JL&c with prejudice' second circuit law is
 settled that, to establish a civil RICO craim,
                                                   plaintiff must ailege '(1) conduct, (2) of an enterprise,
                                                                         to business or property as a result
 (3) through a pattern, (4) of Sacketee.ing u"iiuiiy,' as well-as injuiy
                                                              Long-Island Inc-.;71 1 F'3d 106, I 19 (2d cir'
 of the RICO violation.,, Landy v. cathlric uroiin sys. of
                                                          p.ia SS, SS (2d Cir' 1999))' "The pattern of
  2013) (quoting Anatian v. toutts Bank Ltd., 19i
                                                                acts of racketeering." Id' (citing 18 u's'c'
 racketeering activity must consist of two or more predicate

                                                                              paragraphs'
  1
          JL&c is listed collectively with other defendants in eleven other
                      Woooeucv, Nrw Yonr I PuRGHAse' New Yoer
                   New .IERslEY I EoNNEcrltrur I Flontpa I PeNNEiYLVANIA
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                                            as'oany act which indictable" under specified provisions of
$1961(5). Racketeering activity is defined                                                       Slcy Med
Title 18, including maiifraud, wire fraud, extortion, and bank fraud. 18 U.S.C' $1961(1XB);
                                                                          (E'D'N      2014\' To  establish
suppty Inc. v. scs support claims servs", Inc.,17 i.Supp.3 d207,222              'Y '
                              plaintiff must prove  'the ixistence  of an  agreement   to violate NCO's
a RICO conspiracy .iuirn,   a
substantive p.oui.ionrl'' Uo1oirnait, S.A. ,. Wirdro, Plumbing
                                                                   Supply Co', Inc',187 F'3d 229'244
(2d Cir. 1999).

        plaintiffs fail to allege any facts that support either the First or Second Cause of Action as
                                                                          aided and/or assisted the Deo
against JLC. overall, the i,mended Complaini- alleges that JLC
                                                                       altering financial records, altering
Defendants, *rongfri actions by falsifying financial statements,
                                                                                         create the illusion
journul entries, anJcreating o, ,ub,nitting firged instrugel!1, or "false financials to
                                                                   allege any facts to establish or support
that superb was profitablei' see n255.Notably, plaintiffs fail to
                                                                          the allegations cannot form the basis
that JLC directed or operated the Deo Defendanis' scheme; thus,
                                                                              352 (E'D'N'Y' 2010)(court
of RICO liability as against JLC. See In re Agape Litig.,-681 F.Supp.2d
                                                                      defendant had actual knowledge of
dismissed zuco claim"s, finding that allegatioir tt"tut thJ financial
a scheme to defraudihe'plaintiif and that defendant's actions
                                                                insufficient as a matter of law to support
                                                                                or operated the scheme)'
a RICO claim in the absence of allegations that the defendant directed
                                                                            by JLC with respect alleged
Moreover, plaintiffs' lack of specificity as to any alleged wrongdoing
                                                                           grounds for dismissal of the
fraudulent activities serves as a separate and inoepenoent basis or
Amended Complaint. Brookhaven Town Conservatiie Comm. v.
                                                                      Walsh,258 F'Supp '3d 277, ?8.5-99^
                                                                                  RICO claim, a plaintiff
(E.D.N.y. 20l7x,,When alleging fraudulent activities as predicate acts for a
                                                                             Procedure 9(b)"); Moore v'
must satisfy the particularity requirements of Federal Rule of Civil
PaineWebier, Inc. 139 F.3d 765, 172-73 (2d' Cir' 1999)'
                                                                                               JLC
 B.      The court should Dismiss state Law and common Law Claims Against
                                                                                        law claims against JLC-
          In their I 1th, l2th, 5l.t and 52nd Causes of Action, plaintiffs allege state
                                                                                           that those causes of
 for alleged professional malpractice and fraud. Plaintiffs readily acknowledge
 action are pending before this Court solely under the doctrine of
                                                                         supplementaljurisdiction' Given that
                                                                                 be dismissed for the reasons
 the p1Co and RIC9 Conspiracy causes of action against JLC should
 described above, the Court strould also dismiss the sipplemental
                                                                          claims alleged against JLC' As th-is
                                                                                                       2023 WL
 court recently held in Eaves v. Levitt-Fuirst Assocs-', Ltd., No. 22CV5525-JMA-SIL'
   3434gg7,at *4 (E.D.N.y. May 12,2023),"[i]n the interest of
                                                                     comity, the second circuit instructs that
  ,absent exceptional circumstances,' whe're feieral claims can be disposed of pursuant to Rule l2(b)(6)
                                                                                                  jurisdiction'"'
 or summary judgment grounds. Courts should 'abstain from exercising pendentbe dismissed as
                                                                                         should
  (citations omitted). For the reasons set forth above, the Amended Complaint
  against JLC with Prejudice.

          Thank you in advance for your kind consideration in this matter'

                                                                   submitted,
                                                                      (

                                                                   (PS06s8)
  cc      All counsel of record (via ECF)




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                                     MILBER MAKRIS FLOUSAOIS BEIOEN' LLP
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------X
 SUPERB MOTORS INC., TEAM AUTO SALES LLC,                                Case No.:
 ROBERT ANTHONY URRUTIA, 189 SUNRISE HWY                                 2:23-cv-6188 (OEM) (ST)
 AUTO LLC, NORTHSHORE MOTOR LEASING, LLC,
 BRIAN CHABRIER, individually and derivatively as a                      PROPOSED
 member of NORTHSHORE MOTOR LEASING, LLC,                                SCHEDULING ORDER
 JOSHUA AARONSON, individually and derivatively as
 a member of 189 SUNRISE HWY AUTO, LLC, JORY
 BARON, 1581 HYLAN BLVD AUTO LLC, 1580 HYLAN
 BLVD AUTO LLC, 1591 HYLAN BLVD AUTO LLC,
 1632 HYLAN BLVD AUTO LLC, 1239 HYLAN BLVD
 AUTO LLC, 2519 HYLAN BLVD AUTO LLC, 76 FISK
 STREET REALTY LLC, 446 ROUTE 23 AUTO LLC and
 ISLAND AUTO MANAGEMENT, LLC,

                                             Plaintiffs,

         -against-

 ANTHONY DEO, SARAH DEO, HARRY
 THOMASSON, DWIGHT BLANKENSHIP, MARC
 MERCKLING, MICHAEL LAURIE, THOMAS JONES,
 CPA, CAR BUYERS NYC INC., GOLD COAST CARS
 OF SYOSSET LLC, GOLD COAST CARS OF SUNRISE
 LLC, GOLD COAST MOTORS AUTOMOTIVE GROUP
 LLC, GOLD COAST MOTORS OF LIC LLC, GOLD
 COAST MOTORS OF ROSLYN LLC, GOLD COAST
 MOTORS OF SMITHTOWN LLC, UEA PREMIER
 MOTORS CORP., DLA CAPITAL PARTNERS INC.,
 JONES, LITTLE & CO., CPA'S LLP, FLUSHING BANK,
 and LIBERTAS FUNDING LLC,

                                              Defendants.
 --------------------------------------------------------------------X

         Upon consent of the parties, it is hereby ORDERED as follows:

         1.       Defendants Thomas Jones, CPA, and Jones, Little & Co., CPA’s LLP (together,

 “JLC”) shall serve their papers in support of their motion to dismiss the Amended Complaint as

 against JLC on or before December 13, 2023;

         2.       Opposition to JLC’s motion to dismiss the Amended Complaint shall be served on

 or before January 10, 2024; and
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        3.      JLC’s reply papers, if any, in further support of its motion to dismiss the Amended

 Complaint shall be served on or before January 24, 2024.

        This Scheduling Order may be altered or amended upon a showing of good cause not

 foreseeable at the date hereof.


 CONSENTED TO BY:



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 1632 Hylan Blvd Auto LLC,
 189 Sunrise Hwy Auto LLC,
 2519 Hylan Blvd Auto LLC,
 446 Route 23 Auto LLC,
 76 Fisk Street Realty LLC,
 Island Auto Management, LLC,
 Northshore Motor Leasing, LLC,
 Brian Chabrier,
 Jory Baron,
 Joshua Aaronson
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Gold Coast Cars of Syosset LLC
Gold Coast Cars of Sunrise LLC
Gold Coast Motors Automotive Group LLC
Gold Coast Motors of LIC LLC
Gold Coast Motors of Roslyn LLC
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 Gold Coast Motors of Smithtown LLC
 UEA Premier Motors Corp.


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 SO ORDERED:




                                               Date
  United States Magistrate Judge
